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                    BEFORE THE UNITED STATES
           JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                    )
                                    )
                                    )
IN RE: REAL ESTATE COMMISSION       )   MDL No. 3100
ANTITRUST LITIGATION                )
                                    )
                                    )


   RESPONSE OF DEFENDANT WEST PENN MULTI-LIST, INC. OPPOSING
     PLAINTIFFS’ MOTION FOR TRANSFER AND CENTRALIZATION
                   PURSUANT TO 28 U.S.C. § 1407
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       Defendant West Penn Multi-List, Inc. (“WPML”), one of five remaining defendants 1 in the

Spring Way lawsuit pending in the Western District of Pennsylvania, 2 opposes the Motion for

Transfer of Actions to the Western District of Missouri pursuant to 28 U.S.C. § 1407 for

Coordinated or Consolidated Pretrial Proceedings (the “Motion”) filed by Plaintiffs Don Gibson,

Lauren Criss, John Meiners and Daniel Umpa (the “Missouri Plaintiffs”). WPML requests that

the Judicial Panel on Multidistrict Litigation (“the Panel”) deny the Motion because the Missouri

Plaintiffs have not met their heavy burden of showing that these cases, and especially not Spring

Way, should be centralized, let alone transferred to the Western District of Missouri.

                                        INTRODUCTION

       As an initial matter, the Missouri Plaintiffs have not shown that centralization is necessary

or that transfer is appropriate when considering “that transfers for such proceedings will be for the

convenience of parties and witnesses and will promote the just and efficient conduct of such

actions.” 28 U.S.C. § 1407 (“Section 1407”). Because there are few overlapping defendants and

many individual issues of fact, among the cases at issue here, there are far better alternatives than

centralization. And, the Spring Way case is especially uniquely situated because (i) none of the

remaining five defendants operate outside of Western Pennsylvania or are named defendants in

any other lawsuit, (ii) WPML is a member of the small minority of non-NAR controlled MLSs3

and does not adopt NAR rules including the broker-buyer rule at issue here and had no role



1
 Two of the named defendants, NRT Philadelphia LLC (d/b/a Coldwell Banker Realty) and PPSIR
(d/b/a Piatt Sotheby’s International Realty) were voluntarily dismissed by plaintiffs.
2
 SPRING WAY CENTER, LLC et al v. WEST PENN MULTI-LIST, INC. et al, Docket No. 2:23-
cv-02061 (W.D. Pa., Dec 4, 2023).
3
 For example, in its opposition to the Missouri Plaintiffs’ motion, NAR discusses communications
sent to its members regarding the pending antitrust cases. WPML, as an MLS not affiliated with
NAR, did not receive this communication.
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whatsoever in drafting that rule, and (iii) WPML maintains its own rules that are materially distinct

in the context of plaintiffs’ claims.

        Because centralization will not ultimately promote convenience and efficiency for the

court, parties and witnesses, the Panel should deny the Missouri Plaintiffs’ bid to centralize and

transfer the nine cases they have tagged for inclusion here. Those nine cases, and especially Spring

Way, concern more than 100 unique defendants and a wide range of disparate facts, and none of

the cases filed outside of Missouri have any nexus to that venue. Alternatively, if the Panel decides

to transfer and centralize some of the pending cases into a Multi-District Litigation (“MDL”)

action, WPML requests that the Panel centralize those actions in the Western District of

Pennsylvania.

                                          ARGUMENT

I.      CENTRALIZATION IS NOT WARRANTED OR NECESSARY.

        A.      Numerous disparate facts and defendants would create inefficiency and
                weighs against consolidation.

        The Missouri Plaintiffs request for consolidation of nine cases is unwarranted, particularly

where, as here, there are a large number of diverse defendants named in these nine actions. “Where

only a minimal number of actions are involved, the proponent of centralization bears a heavier

burden to demonstrate that centralization is appropriate.” In re Nelnet Servicing, LLC, Customer

Data Security Breach Litig., 684 F. Supp. 3d 1377, 1378 (J.P.M.L. 2022). Nine pending actions

is considered “a minimal number of actions.” See In re Proton-Pump Inhibitor Prods. Liability

Litig., 273 F. Supp. 3d 1360, 1362 (J.P.M.L. 2017) (“[A]lthough plaintiffs almost guarantee that

the number of involved actions will increase by the hundreds if not thousands, the Section 1407

motion presently encompasses just fifteen cases and 24 tag-alongs.”) (emphasis added); see also




                                                 2
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In re Invokana (Canaglifozin) Prods. Liability Litig., 233 F. Supp. 3d 1345, 1348 (J.P.M.L. 2016)

(finding that 18 related cases did not require consolidation).

       Moreover, the cases the Missouri Plaintiffs seek to consolidate name more than 100 unique

defendants, the majority of which are not named in more than one case and only a handful of which

are named in more than two cases. The defendants are not substantially similar in function or

structure either: they include real estate brokerages, trade associations, multiple listing services

and individual defendants. These parties’ relationships with the plaintiffs and proposed classes,

and other defendants and alleged unnamed co-conspirators, will necessitate individualized fact

intensive inquiries, schedules and discovery plans.

       In circumstances like these, the Panel regularly declines to centralize because “[t]he

variance in named defendants virtually ensures that a significant amount of the discovery will be

defendant-specific.” In re Cordarone (Amiodarone Hydrochloride) Mktg., Sales Pracs. and

Prods. Liability Litig., 190 F. Supp. 3d 1346, 1347 (J.P.M.L. 2016). 4 Cordarone is analogous and

instructive. There, as here, the motion for transfer and centralization implicated nine actions

pending in seven districts, the named defendants “var[ied] widely” among the cases, and the

pending actions each involved similar allegations. See Cordarone, 190 F. Supp. 3d at 1346–47.

The Panel concluded that “[g]iven the different defendants sued in these actions, centralization

appear[ed] unlikely to serve the convenience of a substantial number of parties and their

witnesses.” Id. Similarly, the Panel routinely denies centralization—including of antitrust cases—


4
  See also In re Shoulder Pain Pump-Chrondrolysis Prod. Liability Litig., 571 F. Supp. 2d 1367,
1368 (J.P.M.L. 2008) (denying centralization of thirteen cases pending in seven districts where not
all actions involved the same type of defendants and many of the defendants were sued only in a
minority of the actions); In re Proton-Pump, 273 F. Supp. 3d at 1361–62 (“Although AstraZeneca
is sued in most of the actions (14 constituent actions and 23 tag-alongs), P & G is sued in only
eight, Takeda in four, and Pfizer in two. Centralization thus appears unlikely to serve the
convenience of most, if not all, defendants and their witnesses.”).

                                                 3
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when, as here, “discovery and other pretrial proceedings concerning the common factual questions

would clearly be dwarfed by matters of no interest to the [other parties].” See In re Gasoline

Lessee Dealers Antitrust Litig., 479 F. Supp. 578, 580 (J.P.M.L. 1979).

       The Missouri Plaintiffs claim that:

       1.      “each action pleads an identical or similar course of conduct in which residential
               real estate associations, including [the National Association of Realtors (‘NAR’)],
               and various residential real estate brokerage companies agreed to promulgate,
               follow, and enforce Buyer Broker Compensation Rules,” which they allege caused
               sellers to pay inflated real estate broker commission rates, see Dkt. No. 1-1 at 1–2;

       2.      “the actions share overlapping class definitions, common defendants, and virtually
               identical claims under the Sherman Act,” id. at 5, and

       3.      “each complaint makes the same core allegations about anticompetitive conduct
               and its effects on the market.” Id.

       But ultimately, these individual cases will focus on different issues, different parties,

different proposed classes, different sets of rules between NAR-controlled and non-NAR

controlled MLSs (like WPML), different legal claims and different geographic markets. For

example, Gibson, Phillips, and Umpa propose nationwide classes, whereas Spring Way (the only

case in which WPML and the other remaining defendants are named) proposes a class limited to

Pennsylvania plaintiffs and defendants. QJ Team and Martin also propose classes confined to

different individual states; and March and Grace propose classes confined to even smaller regions

(Manhattan and the Bay Area). March, Phillips, Grace, QJ Team and Martin also include state

law claims that cannot be applied to parties in any of the other cases. Because the relevant markets,

as well as the services offered different types of defendants, vary from case to case, there will

almost certainly be a need for individual and differing expert reports and discovery between cases

here. And, given the diverse factual issues and allegations, a single discovery plan would be near

impossible to negotiate and administer because “significant localized intervening causation issues

are expected to be at play.” In re Yellow Brass Plumbing Component Prods. Liab. Litig., 844 F.

                                                 4
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Supp. 2d 1377, 1378–79 (J.P.M.L. 2012). This is especially true where factual distinctions

implicate key issues, such as whether defendants were involved in drafting or have adopted NAR

rules (which WPML was not and has not).

        In circumstances like these, centralization will only prolong pretrial proceedings through

the inevitable need for separate discovery tracks. See In re Invokana, 233 F. Supp. 3d at 1348.

There is simply no compelling reason to consolidate multiple actions in one court when discovery

in one case is largely irrelevant to the majority of parties in others.

        B.      If the Panel decides to centralize and transfer some cases, the Spring Way case
                should not be included in that order.

        In the event the Panel does decide to consolidate and transfer certain cases, that order

should not include Spring Way, the only case in which WPML and the other Pennsylvania

defendants are named.        As a threshold matter, the Spring Way dispute is one between

Pennsylvania-based parties and about conduct that took place in Pennsylvania and affected only

localized markets.

        There are numerous other facts and circumstances that distinguish the Spring Way case

from other pending cases and warrant separate adjudication as well. For example, WPML has an

entirely different set of broker-buyer compensation rules than NAR. See West Penn Multi-List,

Inc. Rules and Regulations (“WPML Rules”), available at https://www.westpennmls.com/wp-

content/uploads/RR-Cover-Page-TOC-2-23-2022.pdf.             WPML is not affiliated with NAR

whatsoever and had no role in drafting the buyer-broker compensation rule at the heart of the

majority of underlying complaints (and plaintiffs do not allege otherwise). While the Spring Way

plaintiffs do suggest in passing that WPML’s rules “flow from” or are “similar to” the NAR rules,

they provide no examples of those supposed similarities. In fact, there are numerous differences

between WPML’s rules and policies and NAR’s. For example:


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       •       NAR-controlled MLSs must conform their governing documents to the mandatory
               MLS policies established by the NAR Board of Directors to ensure continued status
               as member boards and to ensure coverage under the master professional liability
               insurance program. See NAR Model MLS Rules (“NAR Rules”) 5 at iii. As an
               independent MLS, WPML is not required to conform to those governing documents
               and is not covered under the master insurance program. See generally WPML
               Rules.

       •       The right to participate in NAR-controlled MLSs is available only to RealtoRs® or
               firms comprised of RealtoRs® subject to their agreement to abide by the MLS rules
               or regulations, agreement to arbitrate, and payment of any MLS dues, fees and
               charges. See NAR Rules at 5. WPML has no such rule. See generally WPML
               Rules.

       •       NAR-controlled associations and MLSs must adopt amendments to NAR rules and
               policies within 60 days from their effective date. See NAR Rules at page 5. WPML
               is not affiliated with NAR and does not adopt NAR amendments. See generally
               WPML Rules.

       •       The model NAR rules state that NAR MLSs “establish a means of extending
               blanket unilateral offer[s] of compensation;” NAR Rules at 162, whereas WPML
               Rules do not address blanket unilateral compensation and allow zero compensation
               to the broker, WPML Rule 3.5.

       Moreover, as the Spring Way Plaintiffs recognize in their Complaint, WPML is prohibited

from adopting or enforcing rules that (1) require brokers to comply with the MLS form contract

and submit copies of their listing contracts to the MLS, (2) discourage brokers and home sellers

from contracting for services for terms of less than a year or (3) deny, restrict or interfere with the

ability of [WPML] Subscribers to enter into Exclusive Agency Listings or other lawful listing

agreements with the sellers of properties, or “collecting and retaining Subscriber listing

agreements.”    See In the Matter of West Penn Multi-List, Inc., https://www.ftc.gov/legal-

library/browse/cases-proceedings/081-0167-west-penn-multi-list-inc-corporation-matter; Spring

Way Complaint ¶ 56.


5
   Available at https://cdn.nar.realtor/sites/default/files/documents/pdf-hmlp-handbook-on-
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2024.pdf?_gl=1*syh0sz*_gcl_au*MTQwODkxMDEzLjE3MDYxMzg1OTA.

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       Accordingly, WPML accepts its listing agreement, the Pennsylvania Association of

Realtors agreement or any other listing agreement a broker wants to use. WPML’s listing

agreement does not insist on the payment of the buyer’s commission; brokers are free to negotiate

that between them. WPML cannot and does not track or keep that data or even see the listing

agreement after it is completed. Id.; WPML Rule 3.5. And, unlike the NAR controlled MLSs,

WPML does not get involved in any commission disputes. See WPML Rule 9.2. For all of these

reasons, Spring Way should not be consolidated with other cases that do not concern similar facts,

rules, policies and circumstances because it would create inefficiency, and individualized factual

inquiries would overwhelm common ones.

       C.      Coordination is a better solution than centralization.

       It is well-settled that “centralization under Section 1407 should be the last solution after

considered review of all other options.” In re Best Buy Co., Inc., Cal. Song-Beverly Credit Card

Act Litig., 804 F. Supp. 2d 1376, 1378 (J.P.M.L. 2011); In re Gerber Probiotic Prods. Mktg. &

Sales Pracs. Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L. 2012) (“The Panel has often stated that

centralization under Section 1407 ‘should be the last solution after considered review of all other

options.’”).

       For example, the Panel regularly denies motions to centralize in favor of ordering informal

coordination. See, e.g., In re Eli Lilly & Co. (Cephalexin Monohydrate) Patent Litig., 446 F. Supp.

242 (J.P.M.L. 1978). Such coordination is especially reasonable when, as here, there are a

relatively small number of actions, several parties support informal coordination and counsel

overlap between the actions. See In re SFPP, L.P. R.R. Prop. Rights Litig., 121 F. Supp. 3d 1360,

1361 (J.P.M.L. 2015); In re Hotel Indus. Sex Trafficking Litig., 433 F. Supp. 3d 1353, 1356–57

(J.P.M.L. 2020) (finding that coordination of 21 cases in 12 districts is practicable where

defendants support informal coordination); In re Credit Suisse VelocityShares Daily Inverse VIX

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Short Term Exch. Traded Notes Sec. Litig., 326 F. Supp. 3d 1379, 1381 (J.P.M.L. Aug. 1, 2018)

(“Given the minimal number of involved counsel and actions, informal coordination of discovery

and pretrial motions is practicable and preferable to centralization.”). Here, there are several

overlapping plaintiffs’ counsel, making coordination quite feasible. The Gibson plaintiffs’ counsel

also represent the Burnett plaintiffs, and the Umpa plaintiffs’ counsel also represent the Moehrl

plaintiffs. They are well-positioned to coordinate informally.

        These cases can also be consolidated on a more localized basis. For example, the two cases

pending in the Eastern District of Texas are before the same judge, propose virtually identical

classes, allege the same causes of action, name 30 of the same defendants and are brought by the

same counsel. Likewise, Umpa and Gibson are both pending in the Western District of Missouri

before the same judge and include almost identical proposed nationwide classes and allegations.

Each of those actions can be consolidated with the others in the same district without sweeping in

localized disputes from other parts of the country that include state law claims and different sets

of facts.

II.     IF THE PANEL CHOOSES TO CENTRALIZE IT SHOULD SEND THE
        CONSOLIDATED CASES TO THE WESTERN DISTRICT OF PENNSYLVANIA.

        When selecting a transferee district, the Panel considers several factors, including caseload,

experience and convenience of the parties, witnesses and counsel. If the Panel decides to grant the

Motion and centralize all cases, the Western District of Pennsylvania would be the most

appropriate venue among the venues where the cases are currently pending. The Panel should,

however, deny the Missouri Plaintiffs’ request to transfer the cases to the Western District of

Missouri.




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         A.      The Western District of Pennsylvania is best positioned to handle the MDL.

                 1.     The Western District of Pennsylvania has ample capacity.

         The Western District of Pennsylvania and Judge Christy Criswell Wiegand, before whom

the Spring Way case is pending, are uniquely positioned to handle this MDL due to docket

statistics, accessibility and amenities and proximity to the relevant facts and witnesses. The

Western District of Pennsylvania also has a below-average number of pending cases and weighted

filings and is ranked the ninth fastest for average time from filing to disposition.

         Judge Wiegand is currently not handling any other MDL actions and has a light civil

caseload, and is therefore well positioned to give a large, complex and widely varied MDL the

necessary attention. See Civil Cases in District Court (through June 2023), Judge Information

Center, http://tracfed.syr.edu/judges/interp/civjdglist.html?tracdecor=1. Caseload is an important

consideration in choosing the transferee judge. See In re Vonage Mktg. & Sales Practices Litig.,

505 F. Supp. 2d 1375, 1377 (J.P.M.L. 2007) (noting that the transferee judge “has the time” to

efficiently manage the litigation).

         And even if the Panel does not choose to assign this matter to Judge Wiegand, the Western

District of Pennsylvania has the capacity to handle this MDL expeditiously. The Western District

of Pennsylvania has only 402 pending cases per judge, compared to the national average of more

than 1,000. 6 The Western District of Pennsylvania also has ten judges 7—as opposed to just six in

the Western District of Missouri. 8 The Western District of Pennsylvania also resolves cases

quickly: only 5.9 months on average as opposed to the national mean of more than 8. See id.



6
    See United States District Courts – National Judicial Caseload                        Profile,
https://www.uscourts.gov/sites/default/files/fcms_na_distprofile0930.2023.pdf.
7
    https://www.pawd.uscourts.gov/judges-information.
8
    https://www.mow.uscourts.gov/district/judges.

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               2.      The Western District of Pennsylvania has the requisite experience.

       In addition to ample capacity, the Western District of Pennsylvania judges have the

requisite antitrust experience to handle a complex MDL like this one. See, e.g., In re Insurance

Brokerage Antitrust Litigation, 360 F. Supp. 2d 1371, 1373 (J.P.M.L. 2005) (finding transferee

district appropriate because the “district is equipped with the resources that this complex antitrust

docket is likely to require”). That is particularly important where, as here, the cases involve

extremely complex issues of antitrust law, the answers to which will have important nationwide

ramifications for the economy.

       More broadly, the Western District of Pennsylvania and the Third Circuit have

longstanding and considerable experience with large and complex antitrust MDLs, resulting in a

body of well-developed case law. For example, In Re Asbestos Products Liability Litigation, MDL

No. 875 (E.D. Pa.), was within the Third Circuit, and the largest current antitrust MDL in the

country is being handled within the Third Circuit. See In re Generic Pharmaceuticals Pricing

Antitrust Litigation, MDL No. 2724 (E.D. Pa.).          Judge Hardy in the Western District of

Pennsylvania is currently handling an antitrust MDL as well, In re Diisocyanates Antitrust

Litigation, MDL No. 2862, and the Western District of Pennsylvania has handled major MDLs in

the past, such as In Re Flat Glass Antitrust Litigation, MDL No. 1200.

       Judge Wiegand started her legal career as an antitrust attorney and thus has familiarity with

the complex legal issues present in these cases. 9 She previously practiced antitrust law and clerked

in the Third Circuit. She also served as an Assistant United States Attorney for the Western District

of Pennsylvania, where she was Deputy Chief of the Civil Division and in the Criminal Division’s


9
  Questionnaire for Judicial Nominees, United States Senate Committee on the Judiciary,
https://www.judiciary.senate.gov/imo/media/doc/Christy%20Wiegand%20SJQ%20-
%20PUBLIC.pdf.

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Major Crimes Unit and litigated hundreds of civil cases, including highly complex cases. Judge

Wiegand has not yet presided over an MDL, and the Panel often selects transferee judges who are

well-qualified but have not yet handled MDL proceedings. See, e.g., In re Erie COVID-19 Bus.

Interruption Prot. Ins. Litig., 509 F. Supp. 3d 1370, 1374 (J.P.M.L. 2020) (transferring case to the

Western District of Pennsylvania and reasoning that “[w]e are confident that the Honorable Mark

R. Hornak, who has not yet had the opportunity to preside over an MDL, will steer this litigation

on a prudent and expeditious course”). These considerations make the Western District of

Pennsylvania an especially strong choice for a transferee district.

               3.      Pittsburgh is a convenient venue for witnesses and parties.

       Finally, Pittsburgh, where Judge Wiegand and the Western District of Pennsylvania are

located, is a central and convenient venue for the MDL. Several defendants, including WPML,

Hanna Holdings, Pirain Enterprises, Inc., MHDM LLC, SF, LLC and Realty One Group Horizon,

LLC are headquartered in the Pittsburgh area and incorporated in Pennsylvania. Several other

defendants are headquartered or incorporated nearby, including in Delaware, New Jersey and New

York. For example, Weichert Realtors is headquartered in New Jersey (also in the Third Circuit),

and Compass, Inc., and Christie’s International Real Estate Group, LLC are headquartered in New

York. And many of the defendants are incorporated in Delaware, including RE/MAX Holdings,

Inc., Compass, Inc., eXp World Holdings, Inc., HomeServices of America, Inc. and Redfin

Corporation.

       The Panel has previously transferred MDL cases to the Western District of Pennsylvania

for this precise reason. In re Diisocyanates Antitrust Litig., 341 F. Supp. 3d 1376, 1378 (J.P.M.L.

2018) (“[o]ne defendant has its U.S. headquarters in this district, and five other defendants have

their headquarters in adjacent or nearby districts. Relevant documents and witnesses therefore are

likely to be located in or close to this area.”). Pittsburgh is also central to the seven districts in

                                                 11
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which the cases tagged for transfer here were filed, most of which are in the mid-east coast

(Western District of Pennsylvania, Northern District of Georgia, Southern District of New York

and District of South Carolina). Finally, Pittsburgh is easily accessible for witnesses, counsel and

parties alike. It has an international airport located 20 minutes from the courthouse with 60

nonstop destinations and 135 daily departures. 10 Therefore, if the Panel decides to grant the

Motion and centralize all cases, the Western District of Pennsylvania is a reasonable location.

          B.      The Panel should not transfer the cases to the Western District of Missouri.

          As the Missouri Plaintiffs state, “Judge Bough ruled on motions to dismiss, a motion for

class certification, motions for summary judgment and Daubert, and dozens of discovery and

pretrial motions” in Burnett. Dkt. No. 1-1 at 10. Each of those rulings favored the plaintiffs. 11 It

is no wonder they now characterize Missouri as the best suited venue for this MDL; but in fact, it

is not.

          The Missouri Plaintiffs also characterize Gibson, currently before Judge Bough in the

Western District of Missouri, as the “first-filed action proposed for consolidation.” See Dkt.

No. 1-1 at 2. But the nine cases they tagged for consolidation were cherry-picked. If the Missouri




10
     See Pittsburgh International Airport, https://flypittsburgh.com/new-and-resumed-flights.
11
  See Burnett, Dkt. No. 131 (denying defendants’ motions to dismiss); id., Dkt. No. 741 (granting
plaintiffs’ motion for class certification); id., Dkt. Nos. 1017, 1018 (denying defendants’ motions
to exclude the merits testimony of plaintiffs’ retained experts); id., Dkt. No. 1019 (denying
defendants’ motions for summary judgment). “Seeking a uniform legal determination, though,
generally is not a sufficient basis for centralization.” In re SFPP, L.P., R.R. Prop. Rights Litig.,
121 F. Supp. 3d 1360, 1361 (J.P.M.L. 2015). “Common legal questions are insufficient to satisfy
Section 1407’s requirement of common factual questions.” In re ABA Law Sch. Accreditation
Litig., 325 F. Supp. 3d 1377, 1378 (J.P.M.L. 2018) (“Although plaintiffs seek efficiencies through
centralized treatment of disputed legal questions, ‘[m]erely to avoid [different] federal courts
having to decide the same issue is, by itself, usually not sufficient to justify Section 1407
centralization.’”).

                                                  12
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Plaintiffs had included all pending pre-trial cases alleging antitrust violations relating to NAR

rules, Gibson is not the first-filed action.

        The Western District of Missouri already has four pending MDLs across its eight judges,

including one before Judge Bough. Most of the parties, witnesses and evidence are not located in

or near the Western District of Missouri. And, given the likelihood that that court would rule

consistently with its previous decisions, transferring the cases there would prejudice the dozens of

other defendants, including WPML, who have had no opportunity to brief or argue the issues

already decided in Burnett.

                                           CONCLUSION

        For all of the reasons stated herein, WPML requests ask that the Panel exclude the Spring

Way case from any consolidation or transfer order, because it is a local dispute concerning a

separate set of rules. Consolidation would only lead to unnecessary administrative burden and

delay for all parties, but especially those in Spring Way, which is substantially dissimilar to other

pending cases. If the Panel nonetheless decides to centralize and transfer some of the pending

cases, the transferee district should be the Western District of Pennsylvania.



Dated: January 26, 2024                               /s/ Wendelynne J. Newton
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